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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 11-cv-00206-PAB-KLM

  EDWARD DAVIS THORP,

        Plaintiff,

  v.

  UNITED STATES OF AMERICA,

       Defendant.
  _____________________________________________________________________

                              MINUTE ORDER
  _____________________________________________________________________
  ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

       This matter is before the Court on Plaintiff’s Unopposed Motion to File Amended
  Complaint [Docket No. 18; Filed August 23, 2011] (the “Motion”).

        IT IS HEREBY ORDERED that the Motion is GRANTED.

        IT IS FURTHER ORDERED that the Amended Complaint [Docket No. 18-1] is
  accepted for filing as of today’s date.

        IT IS FURTHER ORDERED that Defendant shall answer or otherwise respond to
  the Amended Complaint on or before September 9, 2011.

        Dated: August 26, 2011
